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AG 91 (Rev. 08/09) Criminal Compla§at

UNITED STATES DISTRlCT COURT

for the
Southern District of Texas

 

 

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United States of Atnerica )
Juan CAR§}LLO, JF. ) __ ‘ ,_,
Yoe; 1933, coc: united ames § Case N°~ M 13 0335 /(/L
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)
De]?zndant(.§)
CR[MINAL COMPLAINT

I, the complainant in this case, state that the foltowing is true to the best of my knowledge and belief

 

 

On ot about the date(s) of Aprii 21, 203 8 in the county of i~lidaigo in the
Sguthem l District of Texas , the defendant(e) violated:
Code Secfion ' Ojense Descz'iption
18 €.in§ted States Code § 554 Did knowingly and Willfully attempt to export or send from the United States, any

merchandise article, or ob§ect, to Wit: approximately 168 (7“62X39mm 30 round
capacity) rifle magazines, and approximately 3,000 rounds of 7,62X39mm
ammuniton, contrary to any law or reguiation of the Unlted States, or receives,
conceats, buys', sells, ot in any manner facilitates the transportation,
concealment or sale of such merchand§se, article or object, prior to exportation,
knowing the Same to be intended for exportation contrary to any an or
regulation of the United States.

This criminal complaint is based on these facts:

SEE ATI'ACHMENT "A“

\/ Continued on the attached sheet

 

W\ao\\?

Complainant’S sigvatz¢z'e

Getardo Mercac¥o, HSl Soecial Aoent
t \A`m M l Prmted name and mile

orn to before me and Signed in my presence
Da:e: 4123/2018 § -' z 4 M // z M
` Judge S signature

City and state: N|cAllen, Texas Peter E. Otmeby, U. S Maqietrate Judge

Pr fitted name and title

I.

`n.

III.

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ATTACHMENT A

On April 21 , 20l8, Homeland Security Investigations (HSI) Special Agents
(SAs) and U.S. Customs and Border Protection Officers (CBPOS) referred a
White Volksvvagen sedan bearing Tamaulipas, Mexico license plates
(hereinafter referred to as “Subject Vehicle”) for an outbound inspection as
the Subject'Vehicle attempted to exit the United States into MeXico via the
Anzalduas Port of Entry (Anzalduas POE) in Mission, TeXas. The driver
and only occupant of the Subject Vehicle Was later identified as Juan
CARRILLO, Jr. from Pharr, Texas.

During-the outbound primary inspection, CARRILLO provided CBPOS With
a negative customs declaration for Weapons, ammunition, or currency over
$10,000.00 USD.l CARRILLO advised CBPOS that he Was traveling to his
father’s residence in vReynosa, Mexico. Subsequently, CBPOS noticed
inconsistencies under the tloorm'ats vvithin the Subject Vehicle and referred
CARRILLO to secondary inspection for further inspection

During the outbound secondary inspection, CBPOS discovered
approximately 168 rifle magazines (7.62X39mm 30 round capacity), and
approximately 3,000 rounds of 7.62X39mm ammunition concealed vvithin
the engine compartment area and underneath the driver’s and passenger’s

floormats of the Subject Vehicle.

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` ATTACHMENT A `

IV. _At the Anzalduas POE», HSI SAs advised CARRILLO of his l\/[iranda'rights
, and interviewed CARRILLO. CARRILLO admitted to his knowledge of the
rifle magazines and ammunition that Were concealed Within the Subject
Vehicle.
. V. According to the U.S. Department of State, Office of Defense Trade `

l Controls Compliance (DTCC), the rifle magazines and ammunition found
concealed Within the Subject Vehicle are determined to being defense
articles described on the United States l\/Iunitions List (USML) and regulated
for exportipursuant to the Arms Export Control Act (Title 22 United States

oon 2773).

